Case 2:03-cr-20372-.]PI\/| Document 50 Filed 05/04/05 Page 1 of 2 Page|D 53

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P|aintiff, ))

vs. § cr. No. 03-20372-M1

cHARLEs LovEBERRv, §
Defendant. §

 

 

Upon motion of the United States, without objection from the defendant, and for

good cause shown, the re-sentencing date in the above-referenced, currently set for June

17,2005,at3:00 p.m.,is herebyordered rescheduledfor'r[h¢¢[gdw_:é gimg ltg, a’?@§ d g#§,¢m[-

w M
lT is 30 oRDERED this f day 0£»4§§'»1,2005.

…MQ

JO P. MCCALLA
U. .D|STR|CT JUDGE

 

APD

p n C. Parker
Assistant U.S. Attomey

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UNITED sTATE DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
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Michael EdWin Scholl

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Honorable J on McCalla
US DISTRICT COURT

